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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

STATE OF TEXAS,
STATE OF ALASKA,
STATE OF ALABAMA,
STATE OF ARKANSAS,
STATE OF FLORIDA,
STATE OF GEORGIA,
STATE OF INDIANA,
STATE OF IOWA,
STATE OF KANSAS,
STATE OF LOUISIANA,
STATE OF MISSOURI,
STATE OF MONTANA,                                             CASE NO. 5:24-cv-00225-C
STATE OF NEBRASKA,
STATE OF SOUTH CAROLINA,
STATE OF SOUTH DAKOTA,
STATE OF UTAH, and
STATE OF WEST VIRGINIA,
             Plaintiﬀs,

v.

ROBERT F. KENNEDY, JR., in his oﬃcial Capacity
as Secretary of Health and Human Services,
UNITED STATES DEPARTMENT OF HEALTH AND
HUMAN SERVICES,
               Defendants.

                                  JOINT STATUS REPORT


       The Plaintiff States of Texas, Alaska, Alabama, Arkansas, Florida, Georgia, Indiana, Iowa,

Kansas, Louisiana, Missouri, Montana, Nebraska, South Carolina, South Dakota, Utah, and West

Virginia (Plaintiffs) and Defendants Robert F. Kennedy, in his official capacity as Secretary of

Health and Human Services, and the United States Department of Health and Human Services

(Defendants) (together, the Parties), submit the following Joint Status Report in connection to the

Court’s Order, ECF No. 44. The Parties advise the Court as follows:
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       Defendants continue to evaluate their position in light of the President’s recent Executive

Order, which provides that agencies shall not “promote or otherwise inculcate gender ideology.”

Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the Federal

Government, White House (Jan. 20, 2025), https://www.whitehouse.gov/presidential-

actions/2025/01/defending-women-from-gender-ideology-extremism-and-restoring-biological-

truth-to-the-federal-government/. Accordingly, the Parties ask that the Court not disturb the

current stay of briefing deadlines. No Party would be prejudiced by the continuation of the stay and

it would preserve the resources of the Parties and the Court. The Parties propose to file a Joint

Status Report with the Court on the twenty-first day of each month going forward.

       Plaintiffs clarify that they have never moved—and do not plan to move—the Court to

declare or enjoin Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, as unconstitutional on its

face. Plaintiffs have not sought and do not seek to enjoin the disbursement of funds from the

Department on the basis that the statute is unconstitutional.

       The context of the entire Complaint, ECF No. 1, shows that the meaning and scope of

Count 3 asserting a claim under the Spending Clause—and the declaratory and injunctive relief

sought in the demand—is an as-applied challenge to any purported application of Section 504 to

funds that are not authorized by the Rehabilitation Act. Such alleged unconstitutional applications

include the requirements the Final Rule imposes on recipients to adopt the “most integrated
setting” and the “at serious risk of institutionalization” standards of care. 89 Fed. Reg. 40,066,

40,183, 40,120–21, 40,192 (May 9, 2024).

       Nothing in Plaintiffs’ Complaint seeks to restrain the disbursement of federal funds from

the Department on the basis that the statute is unconstitutional, or to otherwise prevent the

Federal Government from allocating spending or applying the provisions of the Rehabilitation Act

to any recipients of such funds.




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Dated: February 19, 2025.                  Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on February 19, 2025 and that all counsel of record were served by CM/ECF.

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